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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                        CRIMINAL ACTION NO. 21-00015-01

 VERSUS                                          CHIEF JUDGE S. MAURICE HICKS, JR.

 OMAR GUERRA (01)                                MAGISTRATE JUDGE HORNSBY


                                          ORDER

         The Report and Recommendation of the Magistrate Judge having been considered,

  and the parties having waived their objections thereto;

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s

  guilty plea is accepted, and the court hereby adjudges Defendant guilty of the offense

  charged in Count 1 of the Indictment.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 1st day of June, 2021.




                                                ___________________________________
                                                       S. MAURICE HICKS, JR.
                                                  UNITED STATES DISTRICT JUDGE
